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UNiTED STATES OF AIV|ER|CA, ClDE-Fii<. 'e' EE. §;JFST. CT.

W.D .GF 15~i. MEMFH|S
P|aintif'f,

VS.
CR. NO. 05-20130-B

RAFAT JAMAL IV|ALAVV|,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for

additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 With a
report date of Mondav. Ju|v 25. 2005, at 9:30 a.m., in Courtroom 1. ttth Floor of the
Federal Building, l\/lemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(B)(B)(iv)becausethe ends ofjustice served in allowing for additional time

to prepare outweigh the need for a s eedy trial.
lT lS 30 ORDERED this §

day une, 2005.

UN|EL BREEN
@ED STATES DISTR\|CT JUDGE

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UNITED sTATE D"ISIC COURT - WESTER D's'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
ease 2:05-CR-20130 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

